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                            Exhibit 2
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amazon              0
                          Hcl   o

                         Select your address
                                                   All    Search Amazon
                                                                                                                         Hello. sign in
                                                                                                                         Account & Lists -
                                                                                                                                               Returns
                                                                                                                                               & Orders         •   •




=   All    Clinic   Best Sellers       Customer Service   Amazon Basics     New Releases     Prime -     Music   Today's Deals       Books     Hot summer deals




     Screenya
     Visit the Screenya storefront
                         95% positive in the last 12 months (114 ratings)




     About Seller                                                                                                Have a question for Screenya?

     Screenya is committed to providing each customer with the highest standard of customer service.                   Ask a question




     Feedback

                        4.7 out of 5               12 months V                        FILTER BY
     114 ratings
                                                                                           1 star only

     5 star                                                 90%
                                                                                      FILTERED BY

     4 star                                                 4%                        12 months, 1 star Clear filter

     3 star                                                 0%                        6 feedback

     2 star                                                 0%
                                                                                                            " I've had to return two of these Phone Cases,
     1 star                                                 5%                                               because they did not work properly. Tam
                                                                                                             reluctant to order a replacement again from
          Learn more about how seller feedback works on                                                      this provider. "
          Amazon                                                                                            By Jennifer B. on June 6. 2023.


     Share your thoughts with other customers
                                                                                      .                     -Not a genuine zagg product. False advertising

               seller feedback                                                                              By Danilo C. on May 31, 2023.

                                                                                                            Message from Amazon: This item was fulfilled
                                                                                                            by Amazon. and we take responsibility for this
                                                                                                            fulfillment experience.


                                                                                                            -This never worked right now doesn't work at all
                                                                                                             plz help "
                                                                                                            By Adam Newman on May 24. 2023.


                                                                                                            "I was sold a used privacy protector that did not
                                                                                                             seal properly to my new iPhone. "
                                                                                                            By Jack Switzer on May 22. 2023.


                                                                                                            "Picture and description does NOT match
                                                                                                             product!! "
                                                                                                            By Autumn S. on May 11. 2023.


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Return & Refund Policies
To get information about the Return and Refund policies that may apply, please refer to Amazon's Return and Refund policy.
To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

For any issues with your return, if the product was shipped by the seller, you can get help here.




Amazon's A-to-z Guarantee
The Amazon A-to-z Guarantee protects you when you purchase items sold and fulfilled by a third party seller. Our guarantee covers both the timely
delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you are eligible
for a refund.
See full details




Detailed Seller Information
Business Name: Screenya, LLC
Business Address:
  150 W. Second Street
  Suite 400
  Royal Oak
  Michigan
  48067
  US




Shipping Policies                                                                                                                                    V

Other Policies                                                                                                                                       V


Help



Products
See all products currently offered by the seller.



                                             Leave seller feedback     Tell us what you think about this page




                                                          See personalized recommendations
                                                                        Sign In
                                                                New customer? Start here.
